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EXHIBIT 2
Case 2:90-cv-00520-KJM-SCR Document 2725-2
Pharmacy Conversion Master Schedule

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Implementation
Planning Start (aka

Phase | Go-LIVE

Phase Ii Go-LIVE

ORDER INSTITUTION “Kick-Off") Week Date Tentative Dates
of
Bata Site |FOL - Folsom 6/4/07 6/9/08
Pilot#t |MCSP - Mule Greek State Prison 9/10/07 IB
Pilot #2 CMC - CA Men's Colony 1112/07 4/42/08
#1 SAC - CA State Prison, Sacramento 12/10/2007 2/4/08 6/9/08
2/13/2008 4/7/08 8/25/08
2/13/2008 4/7/08 8/25/08
3/24/2008 5/19/08 10/6/08
3/31/2008 5/26/08 10/13/08
3/31/2008 5/26/08 10/13/08
6/5/2008 6/30/08 11/17/08
HDSP-s High State. Prison: 5/6/2008 6/30/08 14/4708
GIW - Correctional Institute for Women 6/9/2008 8/4/08
\ 6/9/2008 8/4/08
6/9/2008 8/4/08
#12 DVI - Bevel Vocational Institute 71 4/2008 9/8/08 g
7/28/2008 9/22/08 e
7/28/2008 9/22/08 5
9/1/2008 10/27/08 s
eC
Gg | 9/1/2008 10/27/08 %
#17 PBSP - Pelican Bay State Prison 9/1/2008 10/27/08 z
40/13/2008 12/8/08 °
10/13/2008 12/6/08 S
#20 SCC - Sierra Conservation Center 10/20/2008 12/22/08 :
12/1/2008 1/29/09 +
42/1/2008 1/29/09 3
12/1/2008 1/23/09 8
1/5/2009 3/2/09 8 :
1/5/2009 3/2/09 E
1/19/2009 3/16/09 :
2123/2009 4/20/09 2
BS S1SO rigor: Sola 2/23/2009 4/20/09
#29 CRC - CA Rehabilitation Center 3/30/2009 5/18/09
#30 CIM - CA Institute for Man 3/30/2009 5/18/09

‘|Denotas Go-Located Sites

Go-Live will always be on a Monday, unless that Monday js a holiday - then it will be Tuesday,

The Kick-off is planned for the “WEEK OF"

Central Region - Tuesday

Northam Reglon - Wednesday

Southern Regton - Thursday

Revised 3/14/2008
